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823 (Official Form 23) (12/07)


                              United States Bankruptcy Court
                                  Eastem                   District Of Arkansas

    Inre~P_a_t_n_·c~ia~VV_a~lk_e~r~~~~~-·                                      Case No.    4:13-bk-12806
                                             Debtor
                                                                               Chapter _ 7
                                                                                         ____

    DEBTOR'S CERTIFICATION OF COMPLETION OF POSTPETITION INSTRUCTIONAL
            COURSE CONCERNING PERSONAL FINANCIAL MANAGEMENT
           Every individual debtor in a chapter 7, chapter 11 in which§ 1141 (d)(3) applies, or chapter 13 case must file this
   certification. Ifa joint petition is filed, each spouse must complete and file a separate certification. Complete one of the
   following statements and file by the deadline stated below:

          •    I, _P_a_t_n_·_c_ia_W_a_l_k_e_r__________., the debtor in the above-styled case, hereby
                         (Printed Name of Debtor)
     certify that on 01·21·14                 (Date), I completed an instructional course in personal financial management
     provided by Allen CredH & Debt Counseling Agency                                       , an approved personal financial
                                                      (Name of Provider)
     management provider.

          Certificate No. {if any): 16531-ARE-DE-022634684


          D    I , - - - - - - - - - - - - - - - - - - - ' the debtor in the above-styled case, hereby
                        {Printed Name of Debtor)
     certify that no personal financial management course is required because of [Check the appropriate box.]:
               D Incapacity or disability, as defined in l l U.S.C. § l09{h);
               D Active military duty in a military combat zone; or
               D Residence in a district in which the United States trustee (or bankruptcy administrator) has determined that
     the approved instructional courses are not adequate at this time to serve the additional individuals who would otherwise
     be requ;red to oompkt< 'uch oourae~~(                             f    ~

     Signature of Debtor:   -------4~'--'-....."'"---=--------
     Date: 01-24-14




      Instructions: Use this form only to certify whether you completed a course in personal financial management. {Fed. R.
     Bankr. P. 1007(b)(7).) Do NOT use this form to file the certificate given to you by your prepetition credit counseling
     provider and do NOT include with the petition when filing your case.

      Filing Deadlines: In a chapter 7 case, file within 45 days of the first date set for the meeting of crnditors under
     § 341 of the Bankruptcy Code. In a chapter 11 or 13 case, file no later than the last payment made by the debtor as
     required by the plan or the filing of a motion for entry of a discharge under § I 328(b) of the Code. (See Fed. R. Bankr. P.
     1007(c).)
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                                         Certificate Number: 0653 l -ARE-DE-022634684
                                         Bankruptcy Case Number: 13-12806


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                                                                  0653 l-ARE-DE-022634684




               CERTIFICATE OF DEBTOR EDUCATION


 I CERTIFY that on January 21, 2014, at 5:01 o'clock PM CST, Patricia Walker
 completed a course on personal financial management given by internet by Allen
 Credit and Debt Counseling Agency, a provider approved pursuant to 11 U.S.C. §
 111 to provide an instructional course concerning personal financial management
 in the Eastern District of Arkansas.




  Date:   January 21, 2014                By:            ls/Lori A Danburg


                                          Name: Lori A Danburg


                                          Title:         Credit Counselor
